        Case 22-30154                    Doc 7          Filed 04/08/22 Entered 04/08/22 10:42:48                                            Desc Ch 13 First
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Information to identify the case:

                       Laurita Huff Ploughman                                                     Social Security number or ITIN:   xxx−xx−7607
Debtor 1:
                                                                                                  EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                         Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                    EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Western District of North Carolina                            Date case filed for chapter:               13    4/1/22

Case number:          22−30154
Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                         10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Laurita Huff Ploughman

2. All other names used in the
   last 8 years
                                                   5416 WB Wilkerson Road
3. Address                                         Indian Trail, NC 28079
                                                   Marcus D Crow                                                        Contact phone (704) 283−1175
4. Debtor's  attorney
   Name and address
                                                   The Crow Law Firm
                                                   315−B North Main Street                                              Email: marcuscrow@gmail.com
                                                   Monroe, NC 28112

5. Bankruptcy trustee                              Jenny P. Holman                                                      Contact phone 704−372−9650
     Name and address                              Office of the Chapter 13 Trustee
                                                   5970 Fairview Rd                                                     Email: clttrusteejph@ch13clt.com
                                                   Suite 650
                                                   Charlotte, NC 28210

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed                                                                                 8:30 am − 4:30 pm
     at this address.                              401 West Trade Street
     You may inspect all records filed in          Charlotte, NC 28202                                                   Contact phone 704−350−7500
     this case at this office or online at
      https://pacer.uscourts.gov.
                                                                                                                         Date: 4/8/22
                                                                                                                                 For more information, see page 2




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Debtor Laurita Huff Ploughman                                                                                                                 Case number 22−30154

7. Meeting of creditors                   May 19, 2022 at 09:30 AM                                                  Location:
   Debtors must attend the meeting to                                                                               5970 Fairview Road, Suite 650, Charlotte,
   be questioned under oath. In a joint                                                                             NC 28210
                                          The meeting may be continued or adjourned to a later date. If
   case, both spouses must attend.        so, the date will be on the court docket.
   Creditors may attend, but are not
   required to do so.
8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 7/18/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 6/10/22
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 9/28/22
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                 conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                  meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan. The plan and notice of confirmation hearing will be sent separately.

10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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